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                                                                                    U.S. DISTRICT COURT
                                                                                        N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

STEFFANY POWELL COKER,                  )
                                        )
            Plaintiff,                  )
                                        )
vs.                                     )             Case No. 2:18-cv-1364-TMP
                                        )
NORFOLK SOUTHERN                        )
CORPORATION, NORFOLK                    )
SOUTHERN RAILWAY                        )
COMPANY, INC., and TODD                 )
REYNOLDS,                               )
                                        )
            Defendants.                 )


                            MEMORANDUM OPINION

      The defendants, Norfolk Southern Corporation (“NSC”), Norfolk Southern

Railway Company, Inc., (“Railway”), and Todd Reynolds, bring this cause before

the court on their motion to dismiss (doc. 10) the complaint on the basis that it is

an impermissible “claim splitting” by the plaintiff. The motion has been fully

briefed by the parties, and they have consented to the exercise of dispositive

jurisdiction by the undersigned magistrate judge. (Doc. 15).

      I. Procedural Background

      Prior to the filing of the instant action, the plaintiff filed an earlier complaint

in this court on July 17, 2018, styled Powell-Coker v. Norfolk Southern Railway

Company, Inc., et al., No. 2:18-cv-1094-AKK. Herein, the court refers to this
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earlier action as Powell-Coker I. With leave of court, she filed an Amended

Complaint in the action on August 23, 2018, in which the named defendants were

Norfolk Southern Railway Company, Inc., and several of its employees, including

Todd Reynolds. The Amended Complaint alleged two claims: (1) retaliation in

violation of the Federal Rail Safety Act (“FRSA”), and (2) a claim of outrage

under Alabama state law. (Doc. 16 in Case No. 18-1094). Her retaliation claim

alleged generally that the named defendants retaliated against her, including by

terminating her employment, because she reported internally that she had been

instructed to falsify safety-related disciplinary files, thereby hiding the true safety

record of the company. Her state-law claim of outrage alleged that defendant

Reynolds intentionally or recklessly caused her to suffer emotional distress and

mental anguish by sexually harassing her in several different ways, for which she

sought damages from all of the defendants. (See Id.).

      On August 24, 2018, the day after the plaintiff filed her Amended Complaint

in Powell-Coker I, she filed the pending complaint in the instant case, which the

court will refer to as Powell Coker II. (See Doc. 1 in Case No. 18-1364). As

mentioned above, the named defendants in the new complaint are NSC, Railway,

and Reynolds, the latter two being defendants also in Powell-Coker I.             The

complaint in the instant action alleges state-law claims for invasion of privacy,

assault and battery, outrage, and negligent supervision and training, and federal


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claims under Title VII for hostile work environment and retaliation. All of the

claims pleaded in the instant action rest factually on sexual harassment by

Reynolds and retaliation for plaintiff’s complaints about it. (Id.).

      After the filing of the complaint in Powell Coker II and during its pendency,

a motion to dismiss the Amended Complaint was filed in Powell-Coker I,

challenging the claims against various defendants on various grounds, but not

asserting “claim splitting” as a basis for dismissal. (Doc. 22 in Case No. 18-1094).

On October 19, 2018, Judge Kallon granted the motion to dismiss in part,

dismissing the FRSA claim against most defendants (except Railway and Rodney

Moore) and dismissing without prejudice the outrage claim against all defendants.

(Doc. 28 in Case No. 18-1094). On December 21, 2018, the plaintiff filed a

motion in Powell-Coker I to consolidate the instant case into it. (Doc. 33 in Case

No. 18-1094).

      On October 12, 2018, the defendants in the instant action filed their motion

to dismiss, arguing that the action must be dismissed as an impermissible violation

of the doctrine prohibiting “claim splitting” by a plaintiff. They contend that the

claims alleged in Powell Coker II are all within the same factual events and

transactions that make up the claim underlying Powell-Coker I, even though some

of the parties are different and the legal theories of relief are different, and that the

plaintiff is not permitted by the “claim splitting doctrine” to file a second lawsuit


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on legal theories that should have been included in Powell-Coker I. The plaintiff

opposes the motion.

      II. Discussion

         The doctrine prohibiting claim splitting is one facet of the larger doctrine

of res judicata or claim preclusion. Vanover v. NCO Financial Servs., Inc., 857

F.3d 833, 841 (11th Cir. 2017) (citing Davis v. Sun Oil Co., 148 F.3d 606, 613

(6th Cir. 1998) (per curiam)). Under the doctrine, a plaintiff has “no right to

maintain two actions on the same subject in the same court, against the same

defendant at the same time.” Curtis v. Citibank N.A., 226 F.3d 133, 139 (2d Cir.

2000); Vanover v. NCO Financial Servs., Inc., 857 F.3d 833, 841 (11th Cir. 2017).

To determine whether a case violates claim splitting, the court is required to apply

a two-factor test: “(1) whether the case involves the same parties and their privies,

and (2) whether separate cases arise from the same transaction or series of

transactions.” Vanover, at 841-842 (quoting Khan v. H & R Block E. Enters., Inc.,

No. 11-20335-Civ, 2011 WL 3269440, at *6 (S.D. Fla. July 29, 2011)). The

requirement that the successive actions involve “the same parties and their

privies,” however, is limited to those parties over whom the court has personal

jurisdiction. See Rumbough v. Comenity Capital Bank, No. 18-10155, 2018 WL

4293309, at *2 (11th Cir. Sept. 10, 2018) (unpublished). Where a party in a

successive suit was never subject to the personal jurisdiction of the court in the


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earlier action, claim splitting cannot be invoked by that party. In Rumbough, the

court of appeals concluded that it was error for the district court to dismiss the

plaintiff’s claim against Equifax (even though it affirmed the dismissal of claims

against other defendants), because the court never established personal jurisdiction

over it. The court explained:


      The Rumbough I court dismissed Rumbough’s claim against Equifax
      because Rumbough had failed to effect service within the 90 day
      period mandated by the Federal Rules of Civil Procedure. Because
      Equifax was never properly served, the Rumbough I court never had
      jurisdiction over it. See Omni Capital Intern., Ltd. v. Rudolf Wolff &
      Co., Ltd., 484 U.S. 97, 104, 108 S. Ct. 404, 98 L.Ed.2d 415 (1987)
      (“Before a federal court may exercise personal jurisdiction over a
      defendant, the procedural requirement of service of summons must be
      satisfied.”). Absent jurisdiction, our claim-splitting rule does not
      preclude Rumbough’s second suit against Equifax. See Borrero v.
      United Healthcare of New York, Inc., 610 F.3d 1296, 1307 (11th Cir.
      2010) (quoting Aquatherm Indus., Inc. v. Fla. Power & Light Co., 84
      F.3d 1388, 1392 (11th Cir. 1996)) (“It is well-established that the
      general rule against splitting causes of action does not apply when suit
      is brought in a court that does not have jurisdiction over all of a
      plaintiff’s claims.”); see also RESTATEMENT (SECOND) OF JUDGMENTS
      § 25 cmt. e (1982) (“If ... the court in the first action would clearly not
      have had jurisdiction to entertain the omitted theory or ground ... then
      a second action in a competent court presenting the omitted theory or
      ground should be held not precluded.”).



Rumbough v. Comenity Capital Bank, No. 18-10155, 2018 WL 4293309, at *2

(11th Cir. Sept. 10, 2018). When the court in the first case has never exercised

personal jurisdiction over a party, no judgment that might have been entered would


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be binding on that party. Because the doctrine prohibiting claim splitting is part of

res judicata, “the test ‘is… whether the first suit, assuming it were final, would

preclude the second suit.’” Rumbough v. Comenity Capital Bank, No. 18-10155,

2018 WL 4293309, at *1 (11th Cir. Sept. 10, 2018) (unpublished) (quoting Hatch

v. Boulder Town Council, 471 F.3d 1142, 1150 (10th Cir. 2006)). Hence, the

jurisdictional inability of a court to enter a binding judgment on an unserved or

unnamed party precludes the application of the claim-splitting doctrine by that

party in a subsequent suit.

      The second factor addresses whether the two lawsuits involve the same

“claim.” The term “claim” is not limited merely to the actual legal theories of

relief pleaded in the two cases. Rather, a “claim” in this sense is the “subject

matter” of the controversy, whether the two cases arise from the same nucleus of

events and transactions between the parties.       The Eleventh Circuit Court of

Appeals explained it this way:


      Successive causes of action arise from the same transaction or series
      of transactions when the two actions are based on the same nucleus of
      operative facts. Petro-Hunt, L.L.C. v. United States, 365 F.3d 385,
      395–96 (5th Cir. 2004)…. The Fifth Circuit has adopted the
      transactional test of the RESTATEMENT (SECOND) OF JUDGMENTS, § 24,
      which instructs the district court to consider the following factors:

             What factual grouping constitutes a “transaction,” and
             what groupings constitute a “series,” are to be determined
             pragmatically, giving weight to such considerations as
             whether the facts are related in time, space, origin, or
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             motivation, whether they form a convenient trial unit,
             and whether their treatment as a unit conforms to the
             parties' expectations or business understanding or usage.
             [Hence,] “[t]he critical issue is whether the two actions
             under consideration are based on the same nucleus of
             operative facts.”

      Petro-Hunt, 365 F.3d at 396 (footnotes omitted).


Vanover v. NCO Financial Servs., Inc., 857 F.3d 833, 842 (11th Cir. 2017) (italics

in original). It is immaterial that the legal theories pleaded in one case differ from

the legal theories pleaded in the other if both cases rest on the same factual subject

matter or series of events and transactions. Because the objective of the claim-

splitting rule is “to promote judicial economy and shield parties from vexatious

and duplicative litigation while empowering the district court to manage its

docket,” Vanover, at 843, “the addition of separate causes of action in [the second

lawsuit] does not prevent application of the claim-splitting doctrine.” Id. If the

factual subject matter of the controversy being litigated between the same parties

(or their privies) in both actions is the same, both involve the same “claim,” and

that claim cannot be split between two or more lawsuits.

      Applying these principles to the instant case, it is clear that the plaintiff’s

argument that this case is not the same “claim” as Powell-Coker I because different

statutory foundations are used for her legal theories is unavailing. The question is

not whether this case involves the same theories of recovery as the first-filed


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case—it plainly does not. Rather, the question is whether the two suits involve the

same factual subject matter, or, stated another way, whether they rest on the same

series of events and transactions. Framed in this way, it is clear that both lawsuits

involve the same “claim,” both resting on the events and transactions leading to the

plaintiff’s loss of employment with Railway and Reynolds’ role in that loss. The

hostile work environment claim, while intellectually distinct from her claim of

retaliatory discharge, involves the same set of facts as to whether she was

discharged in retaliation for blowing the whistle on the alleged falsification of

safety records under the FRSA.

      It is also clear that the plaintiff, Railway, and Reynolds are the same parties

in both lawsuits. In Powell-Coker I, the named defendants are the same Norfolk

Southern Railway Company, Inc., and Todd Reynolds as are named defendants in

the instant action. Railway and Reynolds are entitled to invoke the doctrine

prohibiting claim splitting as a basis for dismissal of Powell Coker II against them.

      What is not clear is whether Norfolk Southern Corporation is entitled to do

so. It is indisputable that NSC was not a named party in Powell-Coker I, but it

argues in the instant case that it is “in privity” with Railway, which was a named

defendant in that case, and thus entitled to invoke the rule against claim splitting

based in Railway’s presence as a defendant in the first-filed case. The court is

unconvinced on the basis of the record now before it.


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      In the context of res judicata and the related doctrine against claim splitting,

whether two entities are in privity so that litigation by one binds the other is a fact

question. Hart v. Yamaha-Parts Distributors, Inc., 787 F.2d 1468, 1472 (11th Cir.

1986) (“A district court’s determination as to whether interrelated corporations are

in privity with each other is a factual question which should not be reversed unless

its determination is clearly erroneous.”) (citing Astron Industrial Associates, Inc. v.

Chrysler Motors Corp., 405 F.2d 958, 961 (5th Cir.1968)); see also Luster v.

Premier Bankcard, LLC, No. 1:15-CV-0154-LMM, 2016 WL 7826668, at *6

(N.D. Ga. June 7, 2016) (making finding of fact as to privity between sister

corporations).   With respect to alleged privity between a subsidiary party in

litigation and its parent corporation, the Eleventh Circuit has described an “alter-

ego” theory, which, in effect, finds privity only if the non-party parent controlled

the subsidiary party in litigation. The court explained in Hart:


      Although parent and subsidiary corporations have been held to be in
      privity with each other in some circumstances, most of these cases
      addressed the question whether a parent corporation is bound or
      protected by litigation conducted by its subsidiary. See, e.g., Astron
      Industrial Associates, Inc., 405 F.2d at 961 (wholly-owned subsidiary
      was operated by an officer of parent and parent’s Board of Directors
      authorized subsidiary’s suit); Pan American Match Inc. v. Sears,
      Roebuck and Co., 454 F.2d 871, 874 (1st Cir.1972) (parent conveyed
      subject property to wholly-owned subsidiary long before litigation
      arose, parent aware of subsidiary's litigation and participated in its
      defense).    Privity between parent and subsidiary corporations
      generally is governed by the rules that apply to shareholders and their
      corporations. 18 C. Wright, A. Miller & E. Cooper, FEDERAL
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       PRACTICE AND PROCEDURE § 4460 at 534 (1981). In this circuit,
       stockholders are not in privity with their corporations unless they are
       found to be alter egos. Dudley v. Smith, 504 F.2d 979, 982 (5th Cir.
       1974). If the alter ego doctrine applies, “‘the corporation and the
       person who dominates it are treated as one person, so that any act
       committed by one is attributable to both, and if either is bound, by
       contract, judgment, or otherwise, both are equally bound....’” Id.
       (quoting Shamrock Oil and Gas Co. v. Ethridge, 159 F.Supp. 693, 697
       (D.Colo.1958)). The record contains only the defendants’
       contradictory, generalized representations regarding the relationship
       between YMC/USA and Yamaha Parts. In particular, there are no
       facts as to the percent of ownership, YMC/USA’s right or ability to
       control Yamaha Parts, or whether these entities operated
       independently or as one unit. Due to the lack of any factual basis for
       its determination, we find the district court was clearly erroneous in
       concluding Yamaha Parts was in privity with YMC/USA.



Hart v. Yamaha-Parts Distributors, Inc., 787 F.2d 1468, 1472–73 (11th Cir. 1986)

(internal footnotes omitted); see also PJ United, Inc. v. Camron, No. 7:15-CV-

00955-LSC, 2016 WL 10100762, at *3 (N.D. Ala. March 23, 2016) (holding that

evidence failed to establish that a parent and subsidiary were alter egos because

“[s]tanding alone, an ownership interest of an unknown percentage does not make

the entities alter egos of one another.”). 1 A parent corporation owns all or a major

portion of the stock in the subsidiary. Under the “alter ego” theory of privity, it


1
   It should be noted that Judge Coogler concluded that the Supreme Court has rejected the
Eleventh Circuit’s “virtual representation” theory of privity in favor of six narrow categories in
which privity might exist. “Although the Supreme Court rejected virtual representation
generally, the narrow conception of alter ego privity might fall into the second category of
exceptions in Taylor describing parties with ‘substantive legal relationships.’” PJ United, Inc. v.
Camron, No. 7:15-CV-00955-LSC, 2016 WL 10100762, at *3 (N.D. Ala. March 23, 2016)
(quoting and citing Taylor v. Sturgell, 553 U.S. 880, 893-95(2008)).
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must be shown that the stockholder (parent corporation) exercises such control

over the subsidiary corporation that the subsidiary is the mere alter ego of the

stockholder.

      Attempting to carry this burden of proof, the defendants have offered a few

pages from NSC’s 2017 10-K filing with the Securities and Exchange Commission

to show that Railway is NSC’s subsidiary. There are two problems with this

assertion: the court cannot take judicial notice of the facts stated in the 10-K filing

(as distinct from the fact of the filing itself) and, even assuming the court can

assume the facts in the filing to be true, they simply do not establish the level of

control by the parent necessary to satisfy the alter ego theory of privity.

      The defendants present the 10-K SEC filing to the court and contend that the

court can take judicial notice of it to prove the fact that Railway is a subsidiary

under the control of NSC. It is true the court can take judicial notice of the fact of

the filing of the 10-K statement, but it is not correct that the court can take judicial

notice of the truthfulness of the facts stated in the filing. The fact that the 10-K

statement was filed with the SEC is one thing; the truthfulness of the factual

representations made in the 10-K filing is something else. The leading case,

Bryant v. Avado Brands, Inc., 187 F.3d 1271 (11th Cir. 1999), makes this very

point: “[W]e hold that a court, when considering a motion to dismiss in a securities

fraud case, may take judicial notice (for the purpose of determining what


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statements the documents contain and not to prove the truth of the documents'

contents) of relevant public documents required to be filed with the SEC, and

actually filed.” Id. at 1278 (italics added) (footnote omitted). Footnote 10 in the

Bryant decision emphasizes the limited nature of the allowable judicial notice.

Judicial notice can be taken only of the fact that an SEC public filing contains a

relevant statement, but not for the truthfulness of that statement. See also Fed. R.

Evid. 201; Lozman v. City of Riviera Beach, 713 F.3d 1066, 1075 n. 9 (11th

Cir.Fla. 2013); U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 812 (11th Cir.

2015). 2 Thus, insofar as the defendants offer NSC’s 10-K filing to prove the fact

that Railway is a subsidiary of NSC, it is not competent evidence of which the

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    In the context of documents filed in other courts, this court has explained recently:

         A court may take judicial notice of the fact of the filing of a complaint or pleading
         in the public records of another court. “Courts may take judicial notice of
         publicly filed documents, such as those in state court litigation, at the
         Rule 12(b)(6) stage.” U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 812
         (11th Cir. 2015)(citing Fed. R. Evid. 201; Lozman v. City of Riviera Beach, 713
         F.3d 1066, 1075 n. 9 (11th Cir. 2013)). The court may not, however, take judicial
         notice of the contents of a public filing for proof of the truth of factual matter
         asserted in the filing. See Bryant v. Avado Brands, Inc., 187 F.3d 1271, 1277
         (11th Cir. 1999)(citing Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1017–
         18 (5th Cir. 1996))(holding with respect to publicly-filed documents in
         connection with a Rule 12(b)(6) motion, “[s]uch documents should be considered
         only for the purpose of determining what statements the documents contain, not to
         prove the truth of the documents’ contents.”). See also Auto-Owners Ins. Co. v.
         Morris, 191 F. Supp. 3d 1302, 1304 (N.D. Ala. 2016), in which Chief Judge
         Bowdre explained that “the Eleventh Circuit has distinguished between taking
         judicial notice of the fact that court records or court rulings exist versus taking
         judicial notice of the truth of matters stated within those court records or court
         rulings.” (Italics in original).

Hanover Ins. Co. v. BASF Corp., No. 2:18-CV-1418-TMP, 2019 WL 220240, at *1 (N.D. Ala.
Jan. 16, 2019).
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court is allowed to take judicial notice. In the absence of any other evidence, the

defendants have not proven, in fact, that Railway is a subsidiary of NSC.

      Even if the court were to accept as a fact that Railway is a subsidiary of

NSC, that alone does not establish that the two corporations are alter egos of each

other. As Judge Coogler observed in PJ United, Inc. v. Camron, supra, “an

ownership interest of an unknown percentage does not make the entities alter egos

of one another.” The 10-K statement offered by the defendants, at most, can

establish only that Railway is a subsidiary of NSC.       It does not prove what

percentage ownership NSC has in Railway and it does not prove that NSC as

stockholder exercises such control over Railway that the subsidiary is a mere alter

ego of NSC. There is no evidence that NSC controls or directs Railway’s litigation

of Powell-Coker I.     In short, the evidence now before the court is simply

insufficient to prove that NSC and Railway are alter egos, and therefore it is

insufficient to show that NSC and Railway were or are in privity for purposes of

the doctrine against claim splitting. While Railway is a named party in Powell-

Coker I and can invoke the doctrine as a defense in this case, NSC is not a named

party there, and it has not sufficiently established privity with Railway. For that




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reason, NSC may not invoke the defense of claim splitting in this action, at least at

this stage of the case. 3

       Accordingly, the court will enter a separate Order GRANTING the motion

to dismiss on behalf of Norfolk Southern Railway Company, Inc., and Todd

Reynolds, but it will DENY the motion by Norfolk Southern Corporation.

       DONE this 31st day of January, 2019.




                                             _______________________________
                                             T. MICHAEL PUTNAM
                                             UNITED STATES MAGISTRATE JUDGE




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  Although the court expresses no opinion on the point, it seems likely that, because the issue of
privity is fact-intensive, it cannot be raised effectively until the summary judgment stage of the
case. But the court will leave that question to a later day.
                                               14
